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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AMERICAN FEDERATION OF GOVERNMENT

EMPLOYEES, AFL-CiO, et al.,
25cvl237 (DLC)

Plaintiffs,
ORDER
-—VYr
U.S. OFFICE OF PERSONNEL MANAGEMENT,
an agency of the United States, et
al.,

Defendants.

DENISE COTE, District Judge:

The parties are briefing a preliminary injunction motion.
It is hereby

ORDERED that the parties shall supply Chambers, at the time
their papers are filed, with two courtesy copies by mail or
delivery to the United States Courthouse, 500 Pearl Street, New
York, New York.

IT IS FURTHER ORDERED that the parties shall also supply
Chambers with two courtesy copies of materials cited in these
filings, including in footnotes, with the exception of statutes,
regulations, and court decisions.

If IS FURTHER ORDERED that the plaintiffs shall by May 6
supply courtesy copies of the materials that were cited in their

April 25 filings and that have not already been provided to

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Chambers, with the exception of statutes, regulations, and court
decisions.

Dated: New York, New York
April 30, 2025

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DENTSE COTE
United States District Judge

